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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK SEES EON EES ED
BIDI VAPOR, LLC, DOC #
DATE FILED: _ 1/11/2021
Plaintiff,
-against- 20 Civ. 10408 (AT)
ALDAFACTORY, BESTVAPORSELLER, ORDER

DGMENGOU, DHGATEIUS,
ECIGARETTEDIRECT, ECIGCTO,
ECIGMANUFACTURE, ECIGSHOP88,
ITALY NEST1, LINJIUYONG, ONE CLOUD
PUFF, RACHELSHOUSE, SOULLILY,
SUNRISE STORE, SUPERVAPES, VAPE08,
VAPECGE, VAPEFOREVER,
VAPINGFOREVER, VIDGEWISE001,
VIDGEWISE008, WONDERFULCIGS, XI02
and YLHCGH,

Defendants.
ANALISA TORRES, District Judge:

 

 

On December 18, 2020, the Court ordered that Defendants appear on January 11, 2021, at
1:00 p.m., to show cause why a preliminary injunction should not issue. The Court finds good cause
to ADJOURN the hearing scheduled for January 11, 2021, to January 25, 2021, at 1:00 p.m. By
January 19, 2021, Defendants shall file any opposing papers. By January 21, 2021, Plaintiff shall
file any reply. Pursuant to Federal Rule of Civil Procedure 65(b)(2), the TRO is extended to January
26, 2021. Good cause exists for an extension, because adjourning the preliminary injunction hearing
is necessary to ensure Defendants are afforded adequate notice, and continued restraint of Defendants
and third parties in the interim period is necessary to protect Plaintiff's rights against the irreparable
harms demonstrated in their TRO application.

By January 14, 2021, Plaintiff shall serve this order on Defendants using the same methods
authorized by the TRO. By January 19, 2021, Plaintiff shall provide the Court with proof of service.

SO ORDERED.

Dated: January 11, 2021
New York, New York

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ANALISA TORRES
United States District Judge

 
